Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 1
                                    of 7




                       Exhibit 20
    Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 2
                                        of 7




                                                  LGI Homes, Inc.
                                         Performance Based Job Description
                                               New Home Consultant

       General Duties and Responsibilities:
       The New Home Consultont is responsible,for selling homes the LGI way. This position will toke incoming
       phone calls, web-leads, and walk-ins and set appointments. This role will tour properties with prospects,
       write soles contracts and maintain co"ntact with the customer through closing.
       The New Home Consultant will complete and turn in daily reports to the Office Manager at the end of each
       shift. This role will perform office closing duties when scheduled and attend all weekly trainings, quarterly
       meetings and Service Impact Doy.
       The New Home Consultant will report to work Monday through Friday, on time for assigned shift. Saturday
       and Sunday work is required.


       Mission Critical Tasks:
          1. Sell and close 20 homes or $4 million in volume per year the LGI way.
          2. Perform Keep in Touch (KIT) calls in accordance with the soles manual.
          3. Listen to at least 2 ad calls with Sales Manager each month.
          4. Tour with Sales Manager each quarter.
r         5. Attend and participate in sales training each Thursday at 12:00 pm.
          6. Attend and participate in soles meeting each Saturday at 8:30 om.
          7. Participate in goal session with Sales Manager each month.




       Printed Name: _.g~\_-¥.,_~ µ_C~f\_L_I5
                               ~\__         _ 7r:._/(
                                                   _______                                    _____

r
       Signature:   f<Q f't--Jc~

                                                                                                 LGI HOMES 00814
Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 3
                                    of 7




                                               LGI Homes, Inc.
                                       Performance Based Job Description
                                             New Home Consultant


   General Duties and Responsibilities:
   The New Home Consultant is responsible for selling homes the LGI way. This position will take incoming phone
   calls, web-leads, and walk-ins and set appointments. This role will tour properties with prospects, write sales
   contracts and maintain contact with th e customer through dosing.

   The New Home Consultant will complete ·and turn in daily reports to the Office Manager at the end of each shift.
   This role will perform office opening and closing duties when scheduled and attend all weekly trainings,
   quarterly meetings and Service Impact Day.

   The New Home Consultant will report to work Monday through Friday, on time for assigned shift. Saturday and
   Sunday work is required.



   Mission Critical Tasks:
       1. Sell and close 20 homes or $5 million in volume per year the LGI way.
       2.   Perform Keep in Touch (KIT) calls in accordance with the Professional Sales Action Training Manual.
       3.   Listen to al least 2 ad calls with Sales Manager each month.
       4.   Tour with Sales Manager each quarter.
       5.   Attend and participate in soles training each Thursday at 12:00 pm.
       6.   Attend and participate in sales meet_ing each Saturday at 8:30 am .
       7.   Participate in goal session with Soles Manager each month.
       8. Attend a loan application a minimum once per quarter.
       9. Attend a closing a minimum of once per quarter.
       10. Attend a Homeowner Orientation Walk a minimum of once per quarter.




   Printed Name:    Q_I i'.\ fS I

                                                                                  Date: /     /.?' ;q


                                                                                             LGI HOMES 00818
Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 4
                                    of 7




                                                  LGI Homes,- Inc.
                                          Performance Based Job Description
                                                New Home Consultant


   General Duties and Responsibilities:

  The New Home Consultant is responsible for selling homes the LGI way. This position will toke incoming phone
   ca lls, web -leads, a n d wa lk-ins and set appoi ntments. This role w ill tour properties w ith prospects, w rite sales
   contracts and maintain contact with the customer through closing.

  The N ew H ome Consultant will t urn in complete and accurate lead cards, welcome cards and daily reports to
  the Office Manager at the end of each shift . This role will perform o ffice opening and closing d uties when
   scheduled and attend all weekly trainings, q uarterl y meetings and Service Impact Day.

  The New H ome Consultant wi ll report to work Monday through Friday, on time for assigned shift. Saturday and
  Sunday work is required.



  Mission Critical Tasks:

       l . Sell a nd close 20 homes or $5 m illion in vol ume per yea r the LGI way.
       2 . Perform Keep in Touch (KIT) ca lls in accordance with the Prof essional Sales Action Traini ng Manuol.
       3 . Listen to at least 2 ad ca lls with Sales Manager each m onth.
       4. Tour with Sales Manager each quarter.
       5 . Attend and participate in sales training each Thursday at 12:00 pm.
       6. Attend and participate in sales meeting each Saturday at 8 :30 am .
       7.   Participate in goal session with Sales Manager each month .
       8. Attend a loan appl ication a minimum once per quarter.
      9 . Attend a closing a minimum of once per quarter.
       l 0. Attend a Homeow ner Orientation Walk a minimum of o nce per quarter.




  Printed Name:     ~ h t'\ l
                          L




  Signature:    {QM~                                                                     Date:




                                                                                                      LGI HOMES 00821
Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 5
                                    of 7




                                                            /*,+20(6
Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 6
                                    of 7




                                                LGI Homes, Inc.
   ~
                                        Performance Based Job Description
                                              New Home Consultant


  General Duties a nd Responsibilities:

  The New Home Consultant is responsible for selling homes the LGI way. This position will take incoming phone
  calls, web-leads, and walk-ins and set appointments. This role will tour properties with prospects, write sales
  contracts and maintain contact with the customer through closing.

  The New Home Consultant will turn in complete and accurate lead cards, welcome cards and daily reports to
  the Office Manager at the end of each shift. This role will perform office opening and closing duties when
  scheduled and attend all weekly trainings, quarterly meetings and Service Impact Day.

  The New Home Consultant will report to work Monday through Friday, on time for assigned shift. Saturday and
  Sunday work is required .



  M ission C ritical Tasks:

      1. Sell and close 20 homes or $6 m illion in volume per year the LGI way.
      2. Maintain 95% capture rate w ith LGI Mortgage Solutions.
      3. Perform Keep in Touch (KIT) calls in accordance with the Professional Sales Action Training Man ual.
      4 . Listen to al least 2 ad calls with Sales Manager each month.
      5 . Tour with Sales Manager each quarter.
      6. Attend and participate in sales training each Thursday at 12:00 pm .
      7. Attend and participate in sales meeting each Saturday at 8 :30 am .
      8. Participate in goal session w ith Sales Manager each month.
      9. Attend a loan application a minimum once per quarter.
      10. Attend a closing a minimum of once per quarter.
      11 . Attend a Homeowner Orientation Walk a minimum of once per quarter.




  Printed Name:i        /   6 Y--., /

  s;gnatu,e,   )'..J )1 ) (I {2(;.,<ECJ---                                      Date:   { O 3, / 1 o< /
                                                                                             1




                                                                                         LGI HOMES 00826
Case No. 1:23-cv-03088-NYW-KAS Document 51-20 filed 08/05/24 USDC Colorado pg 7
                                    of 7




                                            LGI Homes, Inc.
                                    Performance Based Job Description
                                          New Home Consultant


General Duties and Responsibilities:

The New Home Consultant is responsible for selling homes the LGI way. This position wi ll take incoming phone
calls, web-leads, and wa lk-i ns and set appoi ntments. This role will tour properties with prospects, write sales
controcts and maintain contact with the customer through closing .

The New Home Consultant will turn in complete and accurate lead cards, welcome cards and daily reports to
the Office Manager at the end of each shift. This role will perform office opening and closing duties when
scheduled . This position will attend quarterly all-employee calls, weekly trainings, quarterly meetings and Service
Impact Doy.

The New Home Consultant wi ll report to work Monday through Friday, on time for assigned shift. Saturday and
Sunday work is required.



Mission Critical Tasks:

    1. Sell and close 15 homes or $5 m illion in volume per year t he LGI way.
    2 . Maintain 90 % capture rate with LGI Mortgage Solutions.
    3. Perform Keep in Touch (KIT) calls in accordance with the Professional Soles Action Training Manua l.
    4. Listen to at least 2 ad ca lls with Sales Manager each month.
    5 . Tour with Soles Manager each quarter.
    6 . Attend and participate in sa les training each Thursday at 12:00 pm .
    7. Attend and participate in sales meeting each Saturday at 8 :30 am .
    8 . Participate in goal session with Sales Manager each month.
    9. Attend a loan application a minimum once per quarter.
    10. Attend a closing a minimum of once per quarter.
    11 . Attend a Homeowner O rientation Walk a minimum of once per quarter.




               ~
Printed Name: ......__._._I~~__,__r"\-"-'-/__._{h,___,_C__,__fJ~L~l~
                                                                  ,'\~kJZ~~- - - -- - - - - - -


Signature:   f?C:}rhrcN,i~                                                       Date:    / - / d- - d-3




                                                                                         LGI HOMES 00831
